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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

         In re:                                                       Chapter 11

         SIGNAL INTERNATIONAL, INC., et al.1                          Case No. 15-11498 (MFW)

                                     Debtors.                         Jointly Administered

                                                                      RE: Docket Nos. 205, 216


                             NOTICE OF SUPPLEMENT TO SCHEDULES OF ASSETS
                             AND LIABILITIES OF SIGNAL INTERNATIONAL, LLC

                            PLEASE TAKE NOTICE that pursuant to Rule 1009(a) of the Federal Rules of

         Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 1009-2 of the Local Rules of

         Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

         Delaware (the “Local Rules”) and the Order (I) Establishing Bar Dates for Filing Proofs of

         Prepetition Claims, Including 503(b)(9) Claims, and (II) Approving the Form and Manner of

         Notice Thereof [Docket No. 205] (the “Bar Date Order”)2 entered on August 11, 2015, the

         above-captioned debtors and debtors in possession (collectively, the “Debtors”) hereby

         supplement the Schedules of Assets and Liabilities [Docket No. 216] (the “Schedules”) of the

         Debtor Signal International, LLC (“SI LLC”) as set forth herein.

                            PLEASE TAKE FURTHER NOTICE that annexed hereto as Exhibit 1 is a

         supplement (the “Schedule Supplement”) to the Schedules of SI LLC. Specifically, Schedule F

         is supplemented by adding the claims set forth in the Schedule Supplement, but is otherwise

         unaltered with respect to all information previously included therein.

         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Signal International, Inc. (4248); Signal Ship Repair, LLC (2642); Signal International, LLC (5074);
         Signal International Texas GP, LLC (3050); and Signal International Texas, L.P. (5066). The Debtors’ principal
         offices are located at RSA Battle House Tower, 11 North Water Street, Mobile, Alabama 36602.
         2
             Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Bar Date Order.
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                        PLEASE TAKE FURTHER NOTICE that the Schedule Supplement remains

         subject to the Global Notes, Methodology and Specific Disclosures Regarding the Debtors’

         Schedules of Assets and Liabilities and Statements of Financial Affairs filed with the Schedules.

                        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bar Date Order, the

         party whose claim is listed on the Schedule Supplement (the “Affected Claimant”) must file a

         proof of claim by November 30, 2015, at 4:00 P.M. (Prevailing Eastern Time) (the

         “Amended Schedule Bar Date”). Absent further order of the Court, any person or entity

         that is required to file a proof of claim in these chapter 11 cases but fails to do so in a timely

         manner shall be forever barred, estopped, and enjoined from: (a) asserting any Prepetition

         Claim against the Debtors in these chapter 11 cases that such person or entity has that (i) is

         in an amount that exceeds the amount, if any, that may be set forth in the Schedules, or

         (ii) is of a different nature or in a different classification than what may be set forth in the

         Schedules (in either case, any such Claim being hereafter referred to as an “Unscheduled

         Claim”); and (b) voting upon, or receiving distributions under, any plan or plans of

         liquidation in these chapter 11 cases in respect of an Unscheduled Claim.

                        PLEASE TAKE FURTHER NOTICE that all notices of the Amended

         Schedule Bar Date shall include: (i) a copy of the applicable amendment to the Schedules;

         (ii) a Proof of Claim Form; (iii) a copy of the Bar Date Notice and, if applicable, the

         Translated Bar Date Notice; and (iv) a notice of the Amended Schedule Bar Date

         applicable to such claimant.

                        PLEASE TAKE FURTHER NOTICE that any entities who filed a proof of

         claim before the filing of this Schedule Supplement shall not be required to file another proof of

         claim, unless they wish to modify the claim set forth in such filed proof of claim.


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                                          RESERVATION OF RIGHTS

                        The Debtors reserve the right to dispute, seek to disallow, or assert offsets or

         defenses against, any filed claim or any claim listed or reflected in the Schedule Supplement as

         to nature, amount, liability, classification or otherwise, including, but not limited to, pursuant to

         section 502(d) of the Bankruptcy Code. Nothing contained in this Notice shall preclude the

         Debtors from objecting to any claim, whether scheduled or filed, on any and all grounds.


         Dated:   November 6, 2015                 YOUNG CONAWAY STARGATT & TAYLOR, LLP
                  Wilmington, Delaware
                                                   /s/ Travis G. Buchanan
                                                   M. Blake Cleary (No. 3614)
                                                   Kenneth J. Enos (No. 4544)
                                                   Jaime Luton Chapman (No. 4936)
                                                   Travis G. Buchanan (No. 5595)
                                                   Rodney Square
                                                   1000 North King Street
                                                   Wilmington, Delaware 19801
                                                   Telephone: (302) 571-6600
                                                   Facsimile: (302) 571-1253
                                                   Counsel to the Debtors and Debtors in Possession




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                                    EXHIBIT 1

                               Schedule Supplement




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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


                                                         x
In re:                                                   : Chapter 11
                                                         :
SIGNAL INTERNATIONAL, INC., et al., 1                    : Case No. 15-11498 (MFW)
                                                         :
                           Debtors.                      : Jointly Administered
                                                         x


    SUPPLEMENTAL SCHEDULE F OF THE SCHEDULES OF ASSETS AND
    LIABILITIES FOR SIGNAL INTERNATIONAL, LLC (CASE NO. 15-11500)




________________________________________________________________________
1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Signal International, Inc. (4248); Signal Ship Repair, LLC (2642); Signal
International, LLC (5074); Signal International Texas GP, LLC (3050); and Signal International Texas,
L.P. (5066). The Debtors’ principal offices are located at RSA Battle House Tower, 11 North Water Street,
Mobile, Alabama 36602.
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B6F (Official Form 6F) (12/07)

In re: Signal International, LLC                                                                                           Case No. 15-11500 (MFW)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any
account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor
child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D
and E. If all creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
“Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these
three columns.)

     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total
also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.




           Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                                                                                                C    U     D
                  CREDITOR'S NAME,                C                            DATE CLAIM WAS                   O    N     I       AMOUNT OF CLAIM
                  MAILING ADDRESS,                O                             INCURRED AND                    N    L     S
                 INCLUDING ZIP CODE,              D     H                    CONSIDERATION FOR                  T    I     P
                AND ACCOUNT NUMBER                E     W                          CLAIM.                       I    Q     U
                  (See Instructions Above.)       B     J                  IF CLAIM IS SUBJECT TO               N    U     T
                                                  T     C                     SETOFF, SO STATE.                 G    I     E
                                                  O                                                             E    D     D
                                                  R                                                             N    A
                                                                                                                T    T
                                                                                                                     E
                                                                                                                     D


                                                                                                                                           8QNQRZQ
  See 6XSSOHPHQWDO Schedule F Attachment




                                                                                           Subtotal (Total on this page)                   8QNQRZQ
                                                                                                                    Total                  8QNQRZQ
                                                              (Report also on Summary of Schedules and, if applicable, on
                                                            the Statistical Summary of Certain Liabilities and Related Data.)




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                                                                                                  In re: Signal International, LLC
                                                                                                         Case No. 15-11500
                                                                                                       Supplemental Schedule F
                                                                                                  Creditors Holding Unsecured Claims




                                                                                                                                                                                                                 X Unliquidated
                                                                                                                                                                                                  X Contingent


                                                                                                                                                                                                                                  X Disputed
                                                                                                                                                        Date claim was incurred and Subject to                                                 Total amount of
Creditor's Name          Creditor Notice Name        Address 1                Address 2        Address 3           City         State   Zip   Country     consideration for claim   setoffs Y/N                                                          claim
Billy R. Wilks                                       9163 Heather Lane                                             Moss Point   MS      39562                  Litigation Claim                                                                       Unknown

                         Barrasso,Usdin, Kupperman,                                            909 Poydras St.
Global Resources, Inc.   Freeman & Sarver, LLC      Stephen H. Kupperman      LL&E Tower       Ste 2400            New Orleans LA       70112                 Litigation Claim                                                                       Unknown




                                                                                                                                                                                                   X
                                                                                                                                                                                                                  X
                                                                                                                                                                                                                                  X
Indo-Ameri Soft L.L.C.
a/k/a Indo-Ameri Soft,                                                        3920 General
L.L.C.                   Law Office of Kevin K. Gipson Kevin Kennedy Gipson   DeGaulle Dr.                         New Orleans LA       70114                 Litigation Claim                                                                       Unknown




                                                                                                                                                                                                   X
                                                                                                                                                                                                                  X
                                                                                                                                                                                                                                  X
J & M Associates, Inc.
of Mississippi           c/o Billy R. Wilks          9163 Heather Lane                                             Moss Point   MS      39562                 Litigation Claim                                                                       Unknown




                                                                                                                                                                                                   X
                                                                                                                                                                                                                  X
                                                                                                                                                                                                                                  X
J & M Marine &           James G. Curenton, Jr.,
Industrial, LLC          Attorney at Law             James G. Curenton, Jr.   P. O. Box 1435                       Fairhope     AL      36533                 Litigation Claim                                                                       Unknown




                                                                                                                                                                                                   X
                                                                                                                                                                                                                  X
                                                                                                                                                                                                                                  X
Kurella Sada Siva Rao                                PO Box 113473                                                 Metairie     LA      70011                 Litigation Claim                                                                       Unknown




                                                                                                                                                                                                   X
                                                                                                                                                                                                                  X
                                                                                                                                                                                                                                  X
                                                                                                                                                                                                  Total:                                             Unknown




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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE
In re: Signal International, LLC                                                                                                             Case No. 15-11500 (MFW)

                  DECLARATION
                DECLARATION    CONCERNING
                            CONCERNING      DEBTOR'S
                                       DEBTOR'S        SCHEDULES
                                                SUPPLEMENTAL SCHEDULE F


I, Christopher S. Cunningham, Chief Financial Officer of the corporation named as debtor in this case, declare under penalty of perjury that I have read the foregoing
summary and schedules, consisting of  sheets , and that they are true and correct to the best of my knowledge, information, and belief.




      1/6                                                                                     /s/ Christopher S. Cunningham
Date _____________________________________                                         Signature: ______________________________________________________________
                                                                                                       Christopher S. Cunningham

                                                                                                       Chief Financial Officer




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Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.§§
152 and 3571.
